
PER CURIAM.
The petitioner seeks habeas corpus review of an order of the trial court denying his motion for bond.
We grant the petition for writ of habeas corpus. We remand for the trial court either to set reasonable bail for petitioner’s release, or to set forth the findings in writing which satisfy the requirements for pre-trial detention of section 907.041, Florida Statutes and Florida Rule of Criminal Procedure 3.132(c)(2). The lower court shall act forthwith and in no event later than 5:00 P.M., September 11,1996.
PETITION FOR WRIT OF HABEAS CORPUS GRANTED.
PETERSON, C.J., and COBB and GRIFFIN, JJ., concur.
